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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    CHARLES J. LEE, Bar #221057
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    JACOB MOYA
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )              No. 1:07-cr-0302 AWI
                                           )
12                 Plaintiff,              )             STIPULATION AND ORDER TO CONTINUE
                                           )             STATUS CONFERENCE HEARING
13     v.                                  )
                                           )              DATE: June 20, 2011
14   JACOB MOYA,                           )              TIME: 9:00 A.M.
                                           )              JUDGE: Hon. Anthony W. Ishii
15                 Defendant.              )
     _____________________________________ )
16
17             IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel that the status conference in the above-captioned matter now set for May 16, 2011, may be
19   continued to June 20, 2011 at 9:00 A.M. to continue to trail case 1:11-cr-0082 AWI.
20             This continuance is at the request of counsel for defendant to allow time for proper preparation
21   of the status hearing. The requested continuance is with the intention of conserving time and resources for
22   both parties and the court. As this hearing is a status conference on a supervised release violation, no
23   exclusion of time is necessary.
24   ///
25   ///
26   ///
27   ///
28   ///
              Case 1:07-cr-00302-AWI Document 78 Filed 05/12/11 Page 2 of 2


1                                                  BENJAMIN B. WAGNER
                                                   United States Attorney
2
3    DATED: May 11, 2011                      By: /s/ Yasin Mohammad
                                                 YASIN MOHAMMAD
4                                                Assistant United States Attorney
                                                 Attorney for Plaintiff
5
6
7                                                  DANIEL J. BRODERICK
                                                   Federal Defender
8
9    DATED: May 11, 2010                      By: /s/ Charles J. Lee
                                                 CHARLES J. LEE
10                                               Assistant Federal Defender
                                                 Attorney for Defendant
11                                               JACOB MOYA
12
13
14
15                                         ORDER
16   IT IS SO ORDERED.
17
     Dated:   May 12, 2011
18   0m8i78                                         CHIEF UNITED STATES DISTRICT JUDGE
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